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Mr. Russins ongoing conduct and exposure | Extemal ZiNskviDiscovery x

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Amy Williamson <awilliamson@awilliamsonlaw.com> Dec 22,2022, 11:06PM fe
to Benjamin ¥

Hi Ben,

As you know, ever since my client filed suit, Mr Rusgin continues to publish threats and use intimidation tactics against her. | have cited to some of them in court pleadings. In response,
Judge Horan admonished Mr. Russin and you directly, warning you that he is creating exponential exposure for himself as a result. In fact, she stated that this civil cage would be the least of
his concerns if he continues his “brash” and “appalling” conduct. What is more, Judge Horan has only seen a small fraction of your cliant’s conduct. Yet, Mr. Russin remains as brash and
appalling as ever.

Yesterday, you asked me for an extension of time to produce Mr Russins discovery responses to include responses to RFPD, interrogatories and RFA. Appreciating the potential volume of
information and documents, | agreed to an extension with a new deadline of tomorrow, 12/23.

Ironically enough, tonight Mr. Russin posted the attached photo and message on his instagram page. You will see that he states that his cigar is for a “dear old friend... getting a big batch of
presents tomorrow.”

| am sure you will continue to take the position that these posts are not about my client but rather another “dear friend” or some other nonsense. When you take a step back and take a look at
the timing of all of these posts in conjunction with the developments in the litigation and my clients claims, | feel confident that any juror (let alone Judge Horan) will see right through those
defenses.

| will be meeting with my client aver the holidays to discuss next steps but out of respect for you, | wanted to give you a heads up that your client's appalling conduct is creating ongoing
exposure for him on many levels.

Thanks,
Amy
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